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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,        ) Case No. 2:16-CR-0092 JAM
                                      )
13          Plaintiff,                )
                                      ) STIPULATION AND ORDER
14                  v.                ) CONTINUING STATUS CONFERENCE
                                      ) AND EXCLUDING TIME
15   MARCO ANTONIO RAMIREZ ZUNO       )
     et al.,                          )
16                                    ) Date:   January 16, 2018
            Defendants.               ) Time:   9:15 a.m.
17                                    ) Judge: Hon. John A. Mendez

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19
20          It is hereby stipulated and agreed between plaintiff,

21   United States of America, and defendants, Juan Carlos Montalbo
22   and Wayne A. York II, that the status conference scheduled for

23   January 16, 2018, may be continued to February 6, 2018, at 9:15

24   a.m.
25          The government has provided a large amount of additional

26   discovery on multiple devices, consisting of several years of

27   emails from various persons.      Defense counsel continue to review
28   that material but need additional time to do so.          However, the

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1    parties anticipate setting a trial date at the next status and

2    will confer over the next two weeks to decide when they will be

3    ready for trial.

4         All counsel agree that the status conference should be

5    continued to February 6, 2018, and ask the Court to order time

6    excluded under the Speedy Trial Act through that date in order

7    to afford necessary time for effective preparation.          The parties

8    agree that the interests of justice to be served by a

9    continuance outweigh the best interests of the defendants and

10   the public in a speedy trial, and ask the Court to order time

11   excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv),

12   through February 6, 2018.

13
14                                     Respectfully Submitted,

15                                     HEATHER E. WILLIAMS
                                       Federal Defender
16
17   Dated:   January 12, 2018         /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
18                                     Assistant Federal Defender
                                       Attorney for JUAN CARLOS MONTALBO
19
20   Dated:   January 12, 2018         /s/ T. Zindel for C. Cannon
                                       CHRISTOPHER J. CANNON
21                                     Attorney for WAYNE A. YORK II

22                                     McGREGOR SCOTT
                                       United States Attorney
23
24   Dated:   January 12, 2018         /s/ T. Zindel for M. Morris
                                       MATTHEW G. MORRIS
25                                     Assistant U.S. Attorney

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1                                    O R D E R

2
3         The status conference is continued to February 6, 2018, at

4    9:15 a.m.   The court finds that the ends of justice served by

5    granting a continuance outweigh the best interests of the public

6    and the defendants in a speedy trial for the reasons stated

7    above.   Time is therefore excluded from the date of this order

8    through February 6, 2018, pursuant to 18 U.S.C. § 3161(h)(7)(A)

9    and (B)(iv).

10        IT IS SO ORDERED.

11
     Dated: January 12, 2018           /s/ John A. Mendez__________
12                                     HON. JOHN A. MENDEZ
                                       United States District Judge
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